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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA,                       Mag No.
                                                                    o?4- )0^(9


  V.
                                                  ORDER

  MICHELLE PETERSON,

                  Defendant.




       Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, and as set forth on the

record during the initial appearance of the defendant on this 2nd day of May, 2024, in the


presence of both the prosecutor and defense counsel in this matter, the Court confirms the

United States' continuing obligation to produce ail exculpatory evidence to the defendant

pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.

Failing to do so in a timely manner may result in consequences, including, but not limited to,

the Court's order to produce information, the granting of a continuance, the exclusion of


evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or sanctions by

the Court.

                                               /s/ Andrea D. Bergman
                                              Hon. Andrea D. Bergman
                                              United States Magistrate Judge
